                 Case 14-50333-gs     Doc 55     Entered 04/30/14 15:17:53       Page 1 of 5



 1   NICHOLAS STROZZA, ASSISTANT U.S. TRUSTEE
     State Bar #CA 117234
 2   WILLIAM B. COSSITT, #3484
     Office of the United States trustee
 3
     300 Booth Street, Room 3009
 4   Reno NV 89509
     Telephone: (775) 784-5335
 5   Fax: (775) 784-5531
 6   Attorneys for United States Trustee
 7   Tracy Hope Davis

 8                             UNITED STATES BANKRUPTCY COURT

 9                                         DISTRICT OF NEVADA
10   In re:                                        )       Case no: BK-N-14-50333-BTB
11                                                 )       Chapter 11
     ANTHONY THOMAS, and,                          )
12   WENDI THOMAS,                                 )       US TRUSTEE’S MOTION TO
                                                   )       DESIGNATE CASE AS
13                                                 )       SMALL BUSINESS CASE
                                                   )
14                                                 )       Hearing Date: July 30, 2014
15                                  Debtors,       )       Hearing Time: 10:00 a.m.
                                                   )       Est. Time Req.: 15 min.
16
              The United States Trustee (“US Trustee”), hereby submits her Motion To Designate Case
17
     As Small Business Case (“Motion”), based upon 11 U.S.C. § 101(51)(C) and (D), and Federal
18

19   Rules of Bankruptcy Procedure (“FRBP”) 1020.

20            The US Trustee represents that:

21            1.      The Debtors’ aggregate debts are not more than $2,490,925;
22
              2.     The US Trustee has not appointed an unsecured creditors committee; and
23
              3.     The Debtors’ primary activity is not the business of owning or operating real
24
     property.
25

26

27

28                                                     1
              Case 14-50333-gs          Doc 55   Entered 04/30/14 15:17:53        Page 2 of 5



 1           This Motion is based upon the following points and authorities, together with the entire
 2   record in this case, of which the US Trustee respectfully requests the Court take judicial notice,
 3
     and such evidence as may be introduced at the hearing on this motion.
 4
                                        POINTS AND AUTHORITIES
 5
             Pursuant to 28 U.S.C. § 586(a)(3), the US Trustee is charged with supervising the
 6

 7   administration of cases and trustees under the Bankruptcy Code. To enable the US Trustee to

 8   carry out that duty, Congress has granted the US Trustee standing to raise and to “appear and be

 9   heard on any issue in any case or proceeding” brought under the Bankruptcy Code. 11 U.S.C. §
10   307. Pursuant to 28 U.S.C. § 586(a)(7), the US Trustee is instructed to review and monitor
11
     diligently small business cases.
12
             A.     Statement of Facts:
13
             1.     The Debtors filed voluntary bankruptcy under chapter 11 on March 4, 2014.
14

15   Docket #1.

16           2.     The Debtors’ Summary Of Schedules lists their total debt at $1,262,568.94.

17   Docket #1, pg. 14.
18
             3.     The Debtors’ Schedule I states they have $0.00 income. Docket #1, pgs. 28-29.
19
             4.     The Debtors’ affiliate case, At Emerald, LLC, BK-N-14-50331-btb has total debt
20
     of $541,200. Case No. 14-50331-btb, Docket #1, pg. 6.
21
             5.     The US Trustee has not appointed an unsecured creditors committee.
22

23           6.     The 341 Hearing was concluded on March 31, 2014.

24   /////
25   /////
26
     /////
27

28                                                    2
              Case 14-50333-gs        Doc 55     Entered 04/30/14 15:17:53        Page 3 of 5



 1           B.     Legal Authorities:
 2                  Section 101(51)(D) states:
 3
             The term “small business debtor” … means a person engaged in commercial or
 4           business activities (… excluding a person whose primary activity is the business
             of owning or operating real property or activities incidental thereto) that has
 5           aggregate non-contingent liquidated secured and unsecured debts as of the date of
             the filing of the petition or the date of the order for relief in an amount not more
 6           than $2,490,925 … for a case in which the United States trustee has not appointed
 7           under section 1102(a)(1) a committee of unsecured creditors.

 8           FRBP 1020(b) provides that the United States Trustee may object to the debtor’s

 9   statement regarding being a small business debtor, if done within 30 days of the conclusion of
10   the 341 Hearing, or within 30 days of any amendment.
11
             C.     Application of facts and legal authorities:
12
             The Debtors’ aggregate debts are not more than $2,490,925, even when including the
13
     debt of the affiliate case. Docket #1, pg. 14; Case No. 14-50331-btb, Docket #1, pg. 6. The US
14

15   Trustee has not appointed an unsecured creditors committee. The Debtors’ Schedule I states

16   $0.00 income and they are therefore not in the business of owning or operating real property.

17   Docket #1, pgs. 28-29. Therefore, the Debtors are a small business debtor.
18
     /////
19
     /////
20
     /////
21
     /////
22

23   /////

24   /////
25   /////
26
     /////
27

28                                                    3
              Case 14-50333-gs       Doc 55     Entered 04/30/14 15:17:53       Page 4 of 5



 1                                           CONCLUSION
 2          WHEREFORE, for all the reasons stated above, the US Trustee respectfully requests the
 3
     Court grant the US Trustee’s Motion, order this case to be designated as a small business case,
 4
     and grant such other relief as the Court deems proper.
 5
            DATED this 30th day of April, 2014.
 6

 7                                                       Respectfully submitted,

 8                                                       Nicholas Strozza
                                                         State Bar # CA 117234
 9                                                       William B. Cossitt
                                                         State Bar #3484
10                                                       300 Booth Street, #3009
11                                                       Reno NV 89509
                                                         (775) 784-5335
12
                                                         /s/ WILLIAM B. COSSITT
13                                                       __________________________________
                                                         Attorneys for United States Trustee
14                                                       Tracy Hope Davis
15

16

17

18

19

20

21

22

23

24

25

26

27

28                                                   4
              Case 14-50333-gs         Doc 55    Entered 04/30/14 15:17:53        Page 5 of 5



 1
                                       CERTIFICATE OF SERVICE
 2
     1.   On April 30, 2014, I served the foregoing US TRUSTEES MOTION TO DESIGNATE
 3
     CASE AS A SMALL BUSINESS CASE
 4
     2.     I served the above-named document( by the following means to the persons as listed
 5   below:
 6   ☑       a. ECF System:
 7
            KEVIN A. DARBY kevin@darbylawpractice.com,
 8           alecia@darbylawpractice.com;sarah@darbylawpractice.com;itati@darbylawpractice.com
             ;tricia@darbylawpractice.com
 9          STEFANIE T. SHARP ssharp@rbsllaw.com,
             btaylor@rbsllaw.com;czaehringer@rbsllaw.com
10
            ALAN R SMITH mail@asmithlaw.com
11          U.S. TRUSTEE - RN - 11 USTPRegion17.RE.ECF@usdoj.gov

12
     ☑       b. U.S. Mail, postage fully prepaid (list persons and addresses):
13

14   ANTHONY THOMAS
     WENDI THOMAS
15   7725 PEAVINE PEAK COURT
     RENO, NV 89523
16

17

18
     I declare under penalty of perjury that the foregoing is true and correct.
19
             Signed: April 30, 2014.
20
             /s/ Robbin Little_______
21
             ROBBIN LITTLE
22

23

24

25

26

27

28                                                     5
